            3:22-bk-70129 Doc#: 23 Filed: 03/06/22 Entered: 03/06/22 23:16:47 Page 1 of 3
                                                              United States Bankruptcy Court
                                                               Western District of Arkansas
In re:                                                                                                                 Case No. 22-70129-bmr
Billy G Scallorn                                                                                                       Chapter 13
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0861-3                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 04, 2022                                               Form ID: pdf08Ac                                                          Total Noticed: 14
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 06, 2022:
Recip ID                   Recipient Name and Address
db                    #+   Billy G Scallorn, 239 CR 426, Berryville, AR 72616-4778
5207818                +   CS Bank, 907 W Trimble Ave, Berryville, AR 72616-4614
5207822                +   Eureka Springs Hospital, 24 Norris St, Eureka Springs, AR 72632-3541
5207819                +   First National Bank, 305-307 Public Square, Berryville, AR 72616-3998
5207820                +   Jason Sheen, 8500 Mote Rd, Mountainburg, AR 72946-3822
5208581                +   John B. Buzbee, 10201 West Markham, Suite 108, Little Rock, AR 72205-2180
5207821                +   Springdale Emergency, 4600 Mercy Ln, Springdale, AR 72762-3070

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
5207814                + Email/PDF: AIS.cocard.ebn@aisinfo.com
                                                                                        Mar 04 2022 19:24:32      Capital One, PO Box 30275, Salt Lake City, UT
                                                                                                                  84130-0275
5207815                    Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Mar 04 2022 19:24:32      Credit One, PO Box 98873, Las Vegas, NV
                                                                                                                  89193-8873
5207823                    Email/Text: EBNBKNOT@ford.com
                                                                                        Mar 04 2022 19:14:00      Ford Motor Credit, PO Box 62180, Colorado
                                                                                                                  Springs, CO 809622180
5208582                    Email/Text: EBNBKNOT@ford.com
                                                                                        Mar 04 2022 19:14:00      Ford Motor Credit Company LLC, P.O. Box
                                                                                                                  62180, Colorado Springs, CO 80962-8096
5207817                    Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 04 2022 19:24:33      Home Depot, PO Box 9001010, Louisville, KY
                                                                                                                  40290-1010
5210135                    Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                           Mar 04 2022 19:24:32                   Portfolio Recovery Associates, LLC, POB 41067,
                                                                                                                  Norfolk, VA 23541
5207816                + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 04 2022 19:24:35      Shop Your Way Mastercard, P.O. Box 6282, Sioux
                                                                                                                  Falls, SD 57117-6282

TOTAL: 7


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.
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District/off: 0861-3                                              User: admin                                                           Page 2 of 2
Date Rcvd: Mar 04, 2022                                           Form ID: pdf08Ac                                                    Total Noticed: 14

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 06, 2022                                       Signature:           /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 4, 2022 at the address(es) listed
below:
Name                             Email Address
John Blume Buzbee
                                 on behalf of Creditor Ford Motor Credit Company LLC john@nixonandlight.com ronaee@nixonandlight.com

Joyce Bradley Babin
                                 ecfmail@13ark.com

Kael Bowling
                                 on behalf of Creditor CS Bank f/k/a Cornerstone Bank kbowling@fridayfirm.com
                                 eanderson@fridayfirm.com,cparedes@fridayfirm.com

Lindsey Emerson Raines
                                 on behalf of Creditor CS Bank f/k/a Cornerstone Bank lraines@fridayfirm.com jgarner@fridayfirm.com

Matthew D. Mentgen
                                 on behalf of Debtor Billy G Scallorn matthew@mentgenlaw.com matthew1962-80@forms.zohocreator.com

U.S. Trustee (ust)
                                 USTPRegion13.LR.ECF@usdoj.gov
                                 Shari.Sherman@usdoj.gov;jackie.a.evatt@usdoj.gov;jill.p.eschbacher@usdoj.gov;mary.b.mansfield@usdoj.gov;kent.h.johnson@
                                 usdoj.gov


TOTAL: 6
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                                                     fourteen (14) days;



                      March 11,112022.




                                                                      03/04/2022




           Proposed order amended
           by the Court




EOD: March 4, 2022
